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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Criminal Case No. 22-cr-00224-WJM

UNITED STATES OF AMERICA,

      Plaintiff,

v.

1. JONATHAN AVILA,

      Defendant.



                                      INDICTMENT


The Grand Jury charges:

                                       COUNT 1

      On or about April 6, 2022, in the State and District of Colorado, the defendant,

JONATHAN AVILA, did knowingly and intentionally distribute a mixture and substance

containing a detectable amount of fentanyl, also known as N-phenyl-N-[1-(2-phenylethyl)-

4-piperidinyl] propanamide, a Schedule II controlled substance.

      All in violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).

                                       COUNT 2

      On or about April 13, 2022, in the State and District of Colorado, the defendant,

JONATHAN AVILA, did knowingly and intentionally distribute a mixture and substance

containing a detectable amount of fentanyl, also known as N-phenyl-N-[1-(2-phenylethyl)-

4-piperidinyl] propanamide, a Schedule II controlled substance.

      All in violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).




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                                          COUNT 3

       On or about April 26, 2022, in the State and District of Colorado, the defendant,

JONATHAN AVILA, did knowingly and intentionally distribute a mixture and substance

containing a detectable amount of cocaine, a Schedule II controlled substance.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).

                                          COUNT 4

       On or about April 30, 2022, in the State and District of Colorado, the defendant,

JONATHAN AVILA, did knowingly possess a firearm, in an affecting interstate commerce,

with knowledge that the firearm had the manufacturer’s serial number removed, altered

and obliterated at the time it was possessed by the defendant.

       All in violation of Title 18, United States Code, Section 922(k).

                               FORFEITURE ALLEGATION

       1.     The allegations contained in Counts 1 through 4 of this Indictment are

hereby re-alleged and incorporated by reference for the purpose of alleging forfeiture

pursuant to the provisions of Title 21, United States Code, Section 853, Title 18, United

States Code, Section 924(d), and Title 28, United States Code, Section 2461(c).

       2.     Upon conviction of the violations alleged in Counts 1 through 3 of this

Indictment, involving violations of Title 21, United States Code, Sections 841(a), the

defendant, JONATHAN AVILA, shall forfeit to the United States, pursuant to Title 21,

United States Code, Section 853, any and all of the defendant’s rights, title and interest

in all property constituting and derived from any proceeds obtained directly and indirectly

as a result of such offense, and all property used, or intended to be used, in any manner

or part, to commit, or to facilitate the commission of such offense, including, but not limited




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to: a money judgment in the amount of proceeds obtained by the defendant.

      3.     Upon conviction of the violation alleged in Count 4 of this Indictment,

involving a violation of Title 18, United States Code, Section 922(k), the defendant,

JONATHAN AVILA, shall forfeit to the United States pursuant to Title 18, United States

Code, Section 924(d) and Title 28, United States Code, Section 2461(c), any firearm and

ammunition involved in the offense, including but not limited to: (1) Smith & Wesson model

SW9VE, 9mm Luger caliber semiautomatic pistol, with an obliterated serial number; and

(2) all recovered ammunition.

      4.     If any of the property described in paragraphs 2 and 3 above, as a result of

any act or omission of the defendant:

             a)     cannot be located upon the exercise of due diligence;
             b)     has been transferred or sold to, or deposited with, a third
                    party;
             c)     has been placed beyond the jurisdiction of the Court;
             d)     has been substantially diminished in value; or
             e)     has been commingled with other property which
                    cannot be subdivided without difficulty;
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it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), as incorporated by Title 28, United States Code, Section 2461(c), to seek

forfeiture of any other property of said defendant up to the value of the forfeitable property.


                                                   A TRUE BILL:


                                                  Ink signature on file in Clerk’s Office
                                                         FOREPERSON

COLE FINEGAN
United States Attorney


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